Case 2:21-cr-20264-DPH-KGA ECF No. 38, PagelD.153 Filed 03/16/22 Page 1 of 23 * )Z,

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UNITED STATES DISTRICT COURT MAR 16 2022 |||

EASTERN DISTRICT OF MICHIGAN CLERKS Os
CLERK'S OFFICE

U.S. DISTRICT COURT

UNITED STATES OF AMERICA, Criminal No. 21-cr-20264
Plaintiff, HON. DENISE PAGE HOOD
Vv. Violations:
21 U.S.C. § 841(a)(1) and 846
D-1 YLLI DIDANI, 46 U.S.C. §§ 70503(a),70506(b)
18 U.S.C. § 1956(h)
Defendant.
/
SUPERSEDING INDICTMENT
THE GRAND JURY CHARGES:

COUNT ONE
21 U.S.C. § 841(a)(1) and 846
Conspiracy to Distribute Controlled Substances

D-1 YLLI DIDANI

1. From a date unknown to the Grand Jury, but no later than July 30, 2015,
through 2020, in the Eastern District of Michigan, and elsewhere, defendant YLLI
DIDANI and others known and unknown to the Grand Jury did combine,
confederate, and agree to knowingly and intentionally possess with intent to
distribute and distribute a controlled substance, in violation of Title 21, United

States Code, Section 841(a)(1) and 846.
Case 2:21-cr-20264-DPH-KGA ECF No. 38, PagelD.154 Filed 03/16/22 Page 2 of 23

2. With respect to defendant YLLI DIDANTI, the controlled substance
involved in the conspiracy attributable to him as a result of his own conduct, and
the conduct of other conspirators reasonably foreseeable to him, is five kilograms
or more of a mixture or substance containing a detectable amount of cocaine, a
Schedule II controlled substance, in violation of Title 21, United States Code,
Section 841(b)(1)(A)(i)CD.

Manner and Means

The manner and means used to accomplish the objectives of this conspiracy
include, among others, the following:

3. It was part of the conspiracy that defendant YLLI DIDANI and others
known and unknown to the Grand Jury would plan and did finance the distribution
of controlled substances while in the Eastern District of Michigan and elsewhere.

4. It was further part of the conspiracy that defendant YLLI DIDANI and
others known and unknown to the Grand Jury would and did use United States
currency to finance their accumulation and distribution of controlled substances.

5. It was further part of the conspiracy that defendant YLLI DIDANI and
others known and unknown to the Grand Jury would and did use
telecommunication facilities, including cellular telephones, to facilitate the

distribution of controlled substances.

Case 2:21-cr-20264-DPH-KGA ECF No. 38, PagelD.155 Filed 03/16/22 Page 3 of 23

6. It was further part of the conspiracy that defendant YLLI DIDANI and
others known and unknown to the Grand Jury would and did utilize residences in
the Eastern District of Michigan to plan their accumulation and distribution of
controlled substance transactions.

7. It was further part of the conspiracy that defendant YLLI DIDANI and
others known and unknown to the Grand Jury would and did utilize automobiles,
aircraft, and other means of transportation for purposes of obtaining and
distributing controlled substances.

8. It was further part of the conspiracy that defendant YLLI DIDANI and
others known and unknown to the Grand Jury planned to have a container
(torpedo) designed that was capable of holding large quantities of cocaine that
would be used to transport cocaine across waterways.

Overt Acts

9. In furtherance of the conspiracy, and to affect the objects and purposes
thereof, defendant YLLI DIDANI and others known and unknown to the Grand
Jury committed various overt acts, including but not limited to the following:

(1) Between June 2016 and December 2017, in the Eastern District of
Michigan, Conspirator One provided several checks to Conspirator Two for the

purpose of purchasing bulk cocaine.
Case 2:21-cr-20264-DPH-KGA ECF No. 38, PagelD.156 Filed 03/16/22 Page 4 of 23

(2) Between June 2016 and December 2017, Conspirator Two cashed
these checks at banks, pawn shops, and gold exchange businesses located in the
Eastern District of Michigan.

(3) On or about June 9, 2016, in the Eastern District of Michigan,
defendant YLLI DIDANI met with Conspirator Two for the purpose of receiving
U.S. currency from Conspirator Two that was derived from the checks Conspirator
One provided to Conspirator Two.

(4) On or about June 9, 2016, in the Eastern District of Michigan,
defendant YLLI DIDANI received over $100,000 in U.S. currency from
Conspirator Two for the purpose of purchasing bulk cocaine.

(5) On or about November 16, 2017, while Conspirator One was in the
Eastern District of Michigan, defendant YLLI DIDANI and Conspirator One
exchanged text messages about a seizure of 140 kilograms of cocaine that occurred
in the Netherlands. Defendant YLLI DIDANI sent Conspirator One a text message
stating, “We just fucked up.” Conspirator One responded sending defendant YLLI
DIDANI a text message stating, “We will fix brother.” Defendant YLLI DIDANI
responded sending Conspirator One a text message stating, “Not like this brother
we need to clear heads.” Defendant YLLI DIDANI also sent Conspirator One a

text message that contained a link to an online news article. The news article, dated
Case 2:21-cr-20264-DPH-KGA ECF No. 38, PagelD.157 Filed 03/16/22 Page 5 of 23

November 16, 2017, described the seizure of 140 kilograms of cocaine in the
Netherlands.

(6) On or about December 18, 2017, defendant YLLI DIDANI, drove
Conspirator One’s Porsche SUV from the Eastern District of Michigan to
Washington D.C., where he checked into a hotel, the JW Marriott.

(7) On or about December 19, 2017, while at the JW Marriott in
Washington D.C, defendant YLLI DIDANI took a photograph with a cellular
telephone of another photograph that was displayed on the screen of another
cellular telephone. The photograph depicted over 190 rectangular-shaped
packages, consistent with kilogram-size cocaine packages.

(8) On or about December 21, 2017, Conspirator Two flew from the
Eastern District of Michigan to Washington D.C. in a private airplane owned by
Conspirator One for the purpose of providing defendant YLLI DIDANI with
approximately $450,000 in U.S. currency derived from the checks Conspirator One
provided to Conspirator Two.

(9) On or about December 21, 2017, defendant YLLI DIDANI met with
Conspirator Two in Washington D.C. where defendant YLLI DIDANI received
approximately $450,000 in U.S. currency from Conspirator Two for the purpose of

purchasing bulk cocaine.

Case 2:21-cr-20264-DPH-KGA ECF No. 38, PagelD.158 Filed 03/16/22 Page 6 of 23

COUNT TWO
46 U.S.C. §§ 70503(a) and 70506(b)
Conspiracy to Possess with Intent to Distribute and Distribute a Controlled
Substance on Board a Vessel Subject to the Jurisdiction of the United States

D-1 YLLI DIDANI

1. From a date unknown to the Grand Jury, but no later than October 2016,
through March 2021, in the Eastern District of Michigan, Ecuador, Columbia, the
Netherlands, Spain, the high seas, in international waters, and elsewhere, defendant
YLLI DIDANI and others known and unknown to the Grand Jury did combine,
confederate, and agree to knowingly and intentionally possess with intent to
distribute and distribute, five kilograms or more of a mixture or substance
containing a detectable amount of cocaine, a Schedule II controlled substance, on
board a vessel(s), subject to the jurisdiction of the United States, to wit: the MSC
Anisha R, the Jean Gabriel, and the Cartagena Express in violation of Title 46,
United States Code, Sections 70503(a) 70506(b), and Title 21, United States Code,
Section 960(b)(1)(B).

2. With respect to defendant YLLI DIDANI, the controlled substance
involved in the conspiracy attributable to him as a result of his own conduct, and
the conduct of other conspirators reasonably foreseeable to him, is five kilograms
or more of a mixture or substance containing a detectable amount of cocaine, a
Schedule II controlled substance, in violation of Title 46, United States Code,
Section 70506(a) and Title 21, Section 960(b)(1)(B).

6
Case 2:21-cr-20264-DPH-KGA ECF No. 38, PagelD.159 Filed 03/16/22 Page 7 of 23

MANNER AND MEANS

The manner and means used to accomplish the objectives of this conspiracy
include, among others, the following:

3. It was part of the conspiracy that defendant YLLI DIDANI and others
known and unknown to the Grand Jury would and did use telecommunication
facilities, including cellular telephones, to facilitate the distribution of cocaine via
maritime containerships (“vessel(s)”).

4. It was further part of the conspiracy that defendant YLLI DIDANI and
others known and unknown to the Grand Jury would regularly communicate with
each other utilizing cellular telephone applications including Signal and WhatsApp
and cellular telephones encrypted with Sky ECC software.

5. It was further part of the conspiracy that defendant YLLI DIDANI and
others known and unknown to the Grand Jury would arrange for the purchase,
acquisition and delivery of luxury armored vehicles and bullet proof jackets to be
used in furtherance of the conspiracy.

6. It was further part of the conspiracy that defendant YLLI DIDANI and
others known and unknown to the Grand Jury would plan the distribution of
cocaine utilizing vessels traveling from South America to Europe.

7. It was further part of the conspiracy that defendant YLLI DIDANI and

others known and unknown to the Grand Jury caused cocaine to be loaded into
Case 2:21-cr-20264-DPH-KGA ECF No. 38, PagelD.160 Filed 03/16/22 Page 8 of 23

shipping containers in South America, which were then placed on vessels in South
America and transported on those vessels on the high seas and in international
waters, from South America to Europe.

8. It was further part of the conspiracy that defendant YLLI DIDANI and
others known and unknown to the Grand Jury caused cocaine to be loaded into
shipping containers on vessels on the high seas and in international waters after the
vessels had left South America in route to Europe.

9. It was further part of the conspiracy that defendant YLLI DIDANI and
others known and unknown to the Grand Jury would communicate with
conspirators unknown to the Grand Jury, who had access to port information, to
determine whether the vessel shipping containers where the cocaine was concealed

were selected for inspection by port authorities.

OVERT ACTS

10. In furtherance of the conspiracy, and to affect the object and purposes
thereof, defendant, YLLI DIDANI and others known and unknown to the Grand
Jury committed various overt acts, including but not limited to the following:

(1) On or about September 2, 2019, to September 8, 2019, and on or
about December 16, 2019, to December 26, 2019, while defendant YLLI DIDANI

was in the United States, he engaged in several text message conversations with
Case 2:21-cr-20264-DPH-KGA ECF No. 38, PagelD.161 Filed 03/16/22 Page 9 of 23

conspirators known and unknown to the Grand Jury that discussed cocaine seizures
and the utilization of “tokens” for large cash payments of U.S. currency.

(2) On or about June 2020 to February 2022, defendant YLLI DIDANI
and other conspirators known and unknown to the Grand Jury, ordered, paid for,
and had delivered to Ecuador and the Dominican Republic, several armored
vehicles, including, but not limited to a 2020 Lexus LX570, a 2020 Mercedes Benz
G63, and a 2021 Chevrolet Tahoe.

MSC Anisha R Seizure

(3) On or about July and August 2019, defendant YLLI DIDANI and
other conspirators known and unknown to the Grand Jury caused approximately
753 kilograms of cocaine to be shipped from South America to the Port of
Rotterdam in the Netherlands.

(4) On or about July 14, 2019, a conspirator known to the Grand Jury sent
Defendant YLLI DIDANI a photograph from the Mediterranean Shipping Company
(“MSC”) website depicting the booking information for a vessel, the MSC Anisha
R, showing a direct transit departing Ecuador on July 23, 2019, and scheduled to
arrive in Europe on August 9, 2019.

(5) On or about July 2019, unknown conspirators concealed the 753
kilograms of cocaine in a shipping container on the vessel, the MSC Anisha R,

which departed Ecuador on or about July 23, 2019, and arrived at the Port of

Case 2:21-cr-20264-DPH-KGA ECF No. 38, PagelD.162 Filed 03/16/22 Page 10 of 23

Rotterdam in the Netherlands on or about August 9, 2019, where law enforcement
seized the cocaine.

(6) Onor about July 24, 2019, defendant YLLI DIDANI sent several
photographs to a conspirator unknown to the Grand Jury. The photographs depicted
the 753 kilograms of cocaine in packages with an insignia of a black semi-
automatic handgun taped to the packages. The photographs also depicted the
cocaine mixed in with batches of bananas and loaded into a shipping container.

(7) On or about July 26, 2019, to July 28, 2019, defendant YLLI DIDANI
sent multiple text messages to a conspirator known to the Grand Jury requesting the
“BL” for the “cargo” that defendant YLLI DIDANI and the conspirator “sent.”

(8) On or about July 27, 2019, defendant YLLI DIDANI sent a series of
text messages to a conspirator known to the Grand Jury including text messages
stating, “We have rott and now Antwerp” and “Then powers soon in Barcelona my
brother.” The conspirator replied sending a text message to defendant YLLI
DIDANI stating, “Tell him to start increasing the containers.” Defendant YLLI
DIDANI replied sending text messages to the conspirator stating, “Yes brother,”
“Next week is done,” and “Order will go 5 every week.”

(9) On or about July 29, 2019, the conspirator in the preceding paragraph
sent a text message containing a .pdf attachment to defendant YLLI DIDANI. The

.pdf attachment was a Bill of Lading (BL) for five shipping containers aboard the

10
Case 2:21-cr-20264-DPH-KGA ECF No. 38, PagelD.163 Filed 03/16/22 Page 11 of 23

vessel, the MSC Anisha R, including the container carrying the 753 kilograms of
cocaine.

(10) On or about August 14, 2019, Defendant YLLI DIDANI sent two
photographs to a conspirator unknown to the Grand Jury depicting law enforcement
officers standing in front of the shipping container that the 753 kilograms was
seized from.

(11) On or about September 5, 2019, while defendant YLLI DIDANI was
in the United States, he sent a video to several conspirators known to the Grand
Jury depicting himself wearing and describing a bullet proof jacket.

(12) On or about September 5, 2019, while defendant YLLI DIDANI was
in the United States, he sent a series of text messages to a conspirator known to the
Grand Jury discussing the bullet proof jackets, including the following text
messages, “I got 4 of those,” “One for me and one for you,” and “They will stop all
the gun bullets.”

(13) On or about September 6, 2019, while defendant YLLI DIDANI was
in the United States, he sent a series of text messages to a conspirator known to the
Grand Jury stating, “I got some very sad news about the lost” and “I mad as fuck
bro.” After sending these text messages, defendant YLLI DIDANI texted the

conspirator a link to an online news article dated August 13, 2019, describing the

11
Case 2:21-cr-20264-DPH-KGA ECF No. 38, PagelD.164 Filed 03/16/22 Page 12 of 23

cocaine that had been seized form the MSC Anisha R and an additional seizure of
500 kilograms of cocaine at the Port of Rotterdam.

Jean Gabriel Seizure

(14) On or about January 2020 and February 2020, defendant YLLI
DIDANI and other conspirators known and unknown to the Grand Jury caused
approximately 644 kilograms of cocaine to be shipped from Ecuador to the Port of
Rotterdam in the Netherlands.

(15) After the vessel, Jean Gabriel (“CMA CGM Jean Gabriel”), departed
Ecuador on or about January 20, 2020, conspirators hid the cocaine in a shipping
container onboard the CMA CGM Jean Gabriel. The CMA CGM Jean Gabriel
arrived at the Port of Rotterdam in the Netherlands on or about February 22, 2020,
where law enforcement seized the cocaine.

(16) On or about February 2, 2020, at defendant YLLI DIDANI’s request,
a conspirator known to the Grand Jury sent defendant YLL] DIDANI several videos
showing several unknown conspirators aboard the vessel, the CMA CGM Jean
Gabriel.

(17) The videos received by defendant YLLI DIDANI depict the unknown
conspirators breaking into a sealed and locked shipping container, removing a pallet
of produce from the shipping container, and replacing the produce with 14 black

duffle bags containing the 644 kilograms of cocaine.

12
Case 2:21-cr-20264-DPH-KGA ECF No. 38, PagelD.165 Filed 03/16/22 Page 13 of 23

(18) On or about February 25, 2020, defendant YLLI DIDANI exchanged
text messages with a conspirator known to the Grand Jury that discussed the 644
kilograms of cocaine that were seized. On or about February 25, 2020, defendant
YLLI DIDANI sent a text message to the conspirator, “And this with CMA is very
bad.” The conspirator sent a text message back to defendant YLLI DIDANI, “Yes
bro we also lost.”

Cartagena Express Seizure

(19) On or about March 2020 to April 2020, defendant YLLI DIDANI and
other conspirators known and unknown to the Grand Jury caused approximately
1000 kilograms of cocaine to be shipped from South America to the Netherlands.

(20) After the vessel, the Limari, departed Peru on or about March 11,
2020, conspirators hid the cocaine on the Limari in a shipping container, which was
then transferred to the vessel, the Cartegena Express, which departed Columbia on
or about March 26, 2020. The Cartegena Express arrived at the Port of Rotterdam in
the Netherlands on or about April 7, 2020, where law enforcement seized the
cocaine.

(21) Prior to April 3, 2020, a conspirator unknown to the Grand Jury sent
several videos to defendant YLLI DIDANI depicting several unknown conspirators

aboard the vessel, the Limari.

13
Case 2:21-cr-20264-DPH-KGA ECF No. 38, PagelD.166 Filed 03/16/22 Page 14 of 23

(22) The videos received by defendant YLLI DIDANI depict an unknown
conspirator on the Limari breaking into a sealed and locked shipping container by
utilizing bolt cutters to cut lock seals off the shipping container. Once the lock seals
were cut off the shipping container, several unknown conspirators placed several
large black bags in the shipping container and then an unknown conspirator
resealed the shipping container with new fraudulent lock seals.

(23) Starting on or about April 7, 2020, defendant YLLI DIDANI sent and
received text messages to several individuals discussing the seizure of the cocaine.

(24) On or about April 7, 2020, to April 10, 2020, defendant YLLI
DIDANI exchanged text messages regarding the cocaine seizure with a conspirator
known to the Grand Jury. On or about April 7, 2020, the conspirator sent
photographs to defendant YLLI DIDANI depicting the lock seals that had been
broken off the shipping container and photographs of the new fraudulent lock seals
that were used to reseal the shipping container.

(25) On or about April 9, 2020, defendant YLLI DIDANI sent a text
message to one of his relatives known to the Grand Jury that contained a screenshot
of an online news article that described the cocaine seizure.

(26) On or about April 9, 2020, defendant YLLI DIDANI sent a text
message to an individual known to the Grand Jury that contained a screenshot of an

online news article that described the cocaine seizure. After sending the screenshot

14

Case 2:21-cr-20264-DPH-KGA ECF No. 38, PagelD.167 Filed 03/16/22 Page 15 of 23

to the individual, defendant YLLI DIDANI sent text messages to the individual
stating that he was really sad and that he had lost three, one after the other.

Jenny Seizure

(27) On or about March 2020 and April 2020, defendant YLLI DIDANI
and other conspirators known and unknown to the Grand Jury caused approximately
1100 kilograms of cocaine to be shipped from South America to Spain.

(28) Conspirators hid the 1100 kilograms of cocaine in a shipping
container that was placed on a vessel, the Arushi R., which departed Ecuador on or
about March 22, 2020. The shipping container was then transferred to a vessel, the
Jenny, which departed Belgium on or about April 17, 2020, and arrived at the Port
of Bilbao in Spain, on or about April 20, 2020, where law enforcement seized the
cocaine.

(29) On or about March 25, 2020, a conspirator unknown to the Grand Jury
sent defendant YLLI DIDANI several photographs and videos depicting black
duffle bags being loaded on top of pallets containing boxes of bananas in the rear of
a shipping container.

(30) On or about April 8, 2020, a conspirator unknown to the Grand Jury
sent defendant YLLI DIDANI three photographs via cellular telephone. The first
photograph depicted the rear of a closed shipping container carrying the 1100

kilograms of cocaine and the shipping container number. The second and third

15
Case 2:21-cr-20264-DPH-KGA ECF No. 38, PagelD.168 Filed 03/16/22 Page 16 of 23

photographs depicted the lock seals on the shipping container carrying the 1100
kilograms of cocaine.

Star Care Seizure

(31) On or about September 2020, defendant YLLI DIDANI and other
conspirators known and unknown to the Grand Jury caused approximately 1200
kilograms of cocaine to be shipped from Ecuador to the United Kingdom.

(32) Conspirators hid the 1200 kilograms of cocaine on a vessel, the Star
Care, which departed Guayaquil, Ecuador on or about September 5, 2020. The Star
Care arrived at the Port of Dover in the United Kingdom on or about September 21,
2020, where law enforcement seized the cocaine.

(33) Beginning on or about September 22, 2020, defendant YLLI DIDANI
sent text messages to several individuals known to the Grand Jury discussing the
cocaine seizure. Defendant YLLI DIDANI sent some of the individuals an internet
link to an online news article and sent some of the individuals a photograph of the
news article. The article described the seizure of the 1200 kilograms of cocaine
after the Star Care arrived in the United Kingdom.

(34) On or about September 22, 2020, defendant YLLI DIDANI texted one
of the individuals, “Had some prbl today in morning,” “Lost 11 mil,” “My cost was

11 mil,” and “Someone make mistake.”

16

Case 2:21-cr-20264-DPH-KGA ECF No. 38, PagelD.169 Filed 03/16/22 Page 17 of 23

(35) On or about September 23, 2020, defendant YLLI DIDANI sent an
internet link of the news article to one of the individuals followed by a text message
stating, “you get the chills.”

(36) On or about September 23, 2020, defendant YLLI DIDANI sent an
internet link of the news article to one of the individuals, followed by several text
messages stating, “Delete after you see the news,” “I lost millions yesterday,”
“Stupid fuckes there bro,” “Use sistem of phones I never approved,” “I don’t mind
losing bro,” and “But they was using sistem police broke in.”

(37) On or about September 25, 2020, after defendant YLLI DIDANI sent
a photograph of the news article to one of the individuals, defendant YLLI DIDANI
sent several text messages to the individual including, “I’m mad and angry,” “But

I’m ok,” and “I’m sending one 4 times bigger then that.”

COUNT THREE
18 U.S.C. § 1956(h)
Conspiracy to Launder Monetary instruments

1. From a date unknown to the Grand Jury, but no later than June 2016,
continuing through at least December 2017, in the Eastern District of Michigan, and
elsewhere, defendant, YLLI DIDANI and others known and unknown to the Grand
Jury did combine, confederate, and agree to commit offenses against the United
States in violation of Title 18, United States Code, Sections 1956, to wit: to

transport, transmit, and transfer, and attempt to transport, transmit, and transfer a

17
Case 2:21-cr-20264-DPH-KGA ECF No. 38, PagelD.170 Filed 03/16/22 Page 18 of 23

monetary instrument and funds from a place in the United States to and through a
place outside the United States with the intent to promote the carrying on of
specified unlawful activity, in violation of Title 18, United States Code, Section
1956(a)(2)(A).

MANNER AND MEANS

The manner and means used to accomplish the objectives of the conspiracy
included, among others, the following:

2. As part of the conspiracy, in 2016 and 2017, Conspirator One issued
several checks, which were later cashed by Conspirator Two. Conspirator Two
then provided defendant YLLI DIDANI the converted cash (“funds”) for the

purposes of transferring the funds internationally to promote a specified unlawful
activity.

3. It was further part of the conspiracy that defendant YLLI DIDANI and
others known and unknown to the Grand Jury would and did utilize automobiles
and aircraft for purposes of transporting the funds used to promote a specified
unlawful activity.

4. It was further part of the conspiracy that defendant YLLI DIDANI and
others known and unknown to the Grand Jury would and did use

telecommunication facilities, including cellular telephones, to communicate with

18
Case 2:21-cr-20264-DPH-KGA ECF No. 38, PagelD.171 Filed 03/16/22 Page 19 of 23

each other in furtherance of the money laundering conspiracy.

OVERT ACTS

5. In furtherance of the conspiracy, and to affect the object and purposes
thereof, defendant, YLLI DIDANI and others known and unknown to the Grand
Jury committed various overt acts, including but not limited to the following

(1) On or about December 18, 2017, defendant YLLI DIDANI drove
Conspirator One’s Porsche SUV from the Eastern District of Michigan to
Washington D.C., where he checked into a hotel, the JW Marriott.

(2) On or about December 19, 2017, while at the JW Marriott in
Washington D.C, defendant YLLI DIDANI took a photograph with a cellular
telephone of another photograph that was displayed on the screen of another
cellular telephone. The photograph depicted 190 rectangular-shaped packages,
consistent with kilogram-size cocaine packages.

(3) On or about December 21, 2017, Conspirator Two flew from the
Eastern District of Michigan to Washington D.C. in a private airplane owned by
Conspirator One for the purpose of providing defendant YLLI DIDANI with
approximately $450,000 in U.S. currency derived from some of the checks
Conspirator One provided to Conspirator Two.

(4) On or about December 21, 2017, defendant YLLI DIDANI met with

Conspirator Two in Washington D.C. where defendant YLLI DIDANI received

19
Case 2:21-cr-20264-DPH-KGA ECF No. 38, PagelD.172 Filed 03/16/22 Page 20 of 23

approximately $450,000 in U.S. currency from Conspirator Two for the purpose of
purchasing bulk cocaine outside of the United States.

FORFEITURE ALLEGATIONS

1. The allegations contained in this Superseding Indictment are hereby re-
alleged and incorporated by reference for the purpose of alleging forfeiture
pursuant to Title 18, United States Code, Section 982, Title 21, United States
Code, Section 853, Title 46, United States Code, Section 70507, and Federal Rule
of Criminal Procedure 32.2.

2. Pursuant to Title 21, United States Code, Section 853, upon conviction of
the Count One offense in violation of Title 21, United States Code, Sections 841
and 846, the defendant, YLLI DIDANI, shall forfeit to the United States of
America any property constituting, or derived from, any proceeds obtained,
directly or indirectly, as a result of his offense and any property used, or intended
to be used, in any manner or part, to commit, or to facilitate the commission of, the
offense.

3. Pursuant to Title 46, United States Code, Section 70507, upon conviction
of the Count Two offense in violation of Title 46, United States Code, Sections
70503(a) and 70506(b), the defendant, YLLI DIDANI, shall forfeit to the United
States of America any property that was used or intended to be used to commit, or

to facilitate the commission of, the offense alleged in Count Two.

20

Case 2:21-cr-20264-DPH-KGA ECF No. 38, PagelD.173 Filed 03/16/22 Page 21 of 23

4. Pursuant to Title 18, United States Code, Section 982 upon conviction of
the Count Three offense in violation of Title 18, United States Code, Sections
1956(h), the defendant, YLLI DIDANI, shall forfeit to the United States any
property, real or personal, involved in such offense, or any property traceable to
such property.

5. Ifthe property described above, as being subject to forfeiture, as a result
of any act or omission of defendant YLLI DIDANI:

(1) Cannot be located upon the exercise of due diligence;

(2) Has been transferred or sold to, or deposited with, a third party;
(3) Has been placed beyond the jurisdiction of the Court;

(4) Has been substantially diminished in value; or

(5)Has been commingled with other property that cannot be divided
without difficulty;

the United States of America shall be entitled to forfeiture of substitute property
pursuant to Title 21, United States Code, Section 853(p), Title 28, United States

Code, Section 2461(c), and Title 46, United States Code, Section 70507.

21
Case 2:21-cr-20264-DPH-KGA ECF No. 38, PagelD.174 Filed 03/16/22 Page 22 of 23

DAWN N. ISON
United States Attorney

s/ Craig Wininger
CRAIG WININGER
Chief, Violent & Organized Crime Unit

8/ Mark Bilkovic
MARK BILKOVIC
Assistant United States Attorney

s/ Timothy McDonald
TIMOTHY MCDONALD
Assistant United States Attorney

Dated: March 16, 2022

22

THIS IS A TRUE BILL

s/ Grand Jury Foreperson

GRAND JURY FOREPERSON
Case 2:21-cr-20264-DPH-KGA ECF No. 38, PagelD.175 Filed 03/16/22 Page 23 of 23

United States District Court Criminal Case Cover Sheet Case Number:
Eastern District of Michigan 21-cr-20264

NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to complete it accurately in all respects.

Informatio: -| Companion Case Number:

This may be a companion case based on LCrR 57.10(b)(4)":

a a 7
OYes MNo AUSA’s Initials: Lf

Case Title: USAv. Yili Didani

County where offense occurred: Wayne, Macomb, Oakland, and elsewhere

Offense Type: Felony
Indictment --- based upon LCrR 57.10 (d) [Complete Superseding section below]

Superseding to Case No: 21-cr-20264 Judge: Denise Page Hood

Reason:
Embraces same subjeci matter but adds the additional defendants or charges below:

Defendant Name Charges Prior Complaint (if applicable)
D-1 Y1li Didani 21 U.S.C. § 841(a)(1) and 846

46 U.S.C. §§ 70503(a),70506(b)
18 U.S.C. § 1956(h)

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case

ZB
March 16, 2022 LE _
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1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same or related parties are
present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases even though one of them may have already
been terminated.
